               Case 20-10036-CSS              Doc 116         Filed 03/18/20        Page 1 of 2




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE
                                                          )
In re                                                     )     Chapter 11
                                                          )
TOUGH MUDDER INC., et al., 1                              )     Case No. 20-10036 (CSS)
                                                          )
                      Debtors.                            )     Jointly Administered
                                                          )
                                                          )     RE: D.I. 110
                                                                         __
                                                          )

    ORDER (I) AUTHORIZING THE CHAPTER 11 TRUSTEE TO REJECT CERTAIN
     EXECUTORY CONTRACTS NUNC PRO TUNC TO MARCH 9, 2020, AND (II)
                       GRANTING RELATED RELIEF

                Upon the motion (the “Motion”) 2 of Derek C. Abbott, Esq., the chapter 11 trustee

(the “Trustee”) for Tough Mudder Inc. (“Tough Mudder”) and Tough Mudder Event Production

Inc. (“TM Events” and, together with Tough Mudder, the “Debtors”), in the above-captioned

chapter 11 cases (the “Chapter 11 Cases”), pursuant to sections 105(a) and 365 of title 11 of the

United States Code (the “Bankruptcy Code”) and rules 6006 and 9014 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), for entry of an order (the “Order”): (i)

authorizing the Trustee to reject, as identified on Exhibit 1 of the Proposed Order, the executory

contracts (the “Specified Contracts”), effective as of March 9, 2020, and (ii) granting related

relief; and due and sufficient notice of the Motion having been given under the circumstances;

and it appearing that no other or further notice need be provided under the circumstances; and it

appearing that the relief requested by this Motion is in the best interests of the Debtors, their




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        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
        identification number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845).
        The Debtors’ address is 15 MetroTech Center, Brooklyn, NY 12201.
2
        Capitalized terms not otherwise defined herein are used as in the Motion.
              Case 20-10036-CSS          Doc 116       Filed 03/18/20    Page 2 of 2




estates, and other parties in interest; and after due deliberation and sufficient cause appearing

therefor;

       IT IS HEREBY ORDERED THAT:

               1.      The Motion is GRANTED as set forth herein.

               2.      Pursuant to sections 105(a) and 365(a) of the Bankruptcy Code, the

Specified Contracts are hereby rejected by the Trustee, effective as of March 9, 2020.

               3.      Notwithstanding the relief granted herein and any actions taken hereunder,

nothing in the Motion or this Order shall: (a) constitute an admission as to the validity or priority

of any claim against the Debtors; (b) constitute a waiver of the Trustee’s rights to dispute any

claim or assert any defenses or counterclaims to such claim or against the applicable claim

proponent; (c) prejudice the Trustee’s rights to assert that any of the Specified Contracts are not

executory within the meaning of section 365 of the Bankruptcy Code; or (d) prohibit the Trustee

from seeking to reject any other executory contracts or leases.

               4.      The Motion complies with the requirements of Bankruptcy Rule 6006(f).

               5.      Notwithstanding Bankruptcy Rule 6004(h), this Order shall be effective

immediately and enforceable upon its entry, including the rejection of the Specified Contracts

granted herein which shall be rejected by the Trustee, effective as of March 9, 2020.

               6.      The Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation of this Order.




        Dated: March 18th, 2020                        CHRISTOPHER S. SONTCHI
        Wilmington, Delaware                           UNITED STATES BANKRUPTCY JUDGE
